Case 1:16-cv-24026-FAM Document 69 Entered on FLSD Docket 11/14/2017 Page 1 of 7



                        UN ITED STATES DISTRICT COURT FOR THE
                             SO U THERN D ISTRICT OF FLO RID A
                                       M iamiDivision

                              C ase N um ber:16-24026-CIV -M O REN O

  JO SH UA D OM ON D and H A RO LD HUN TER,
  JR .,

                Plaintiffs,
  VS.

  PEOPLEN ETw ORK APs DBA
  BEA UTIFU LPEO PLE.CO M ,BEA UTIFU L
  PEOPLE,LLC,GREG HODGE,and
  GENEVIEVE M AYLAM ,

                Defendants.
                                                    /

        ORDER GRANTING DEFENDANTS'M OTION FOR ATTORNEY 'S FEES AND
                                C O STS

          Defendants are seeking attorney's fees and costs under the Lrmham Act,which allows

  prevailing parties to recover in tçexceptional cases.'' D etennining w hether this case is

  Sdexceptional''requires the Courtexam ine its history. This Court dism issed Plaintiffs' case

  because theirown allegations showed Defendants'use of the tenn SlBeautifulPeople''in their

  website and promotionalm aterialspredated the Plaintiffs'registration. Plaintiffscould notm eet

  theirburden to establish priority ofuse,which isathreshold issue. In so holding,the Courtalso

  explained the parties' prior history. Before filing this case, the parties participated in an

  arbitration proceeding before a three-m em ber panelunder the U niform D om ain N nm e Dispute

  Resolution Policy. That panel found the D efendants' use of the dom ain nam e predated the

  Plaintiffs' creation of their tradem ark, which resulted in a ruling in favor of the D efendants.

  Despite knowing Defendants'use predated theirown and afterhaving an arbitration panelfind

  Plaintiffs'claim to the dom ain nam elacked merit,thePlaintiffsfiled thiscase underthe Lnnhnm
Case 1:16-cv-24026-FAM Document 69 Entered on FLSD Docket 11/14/2017 Page 2 of 7



  Act. TheCourtfindsthatthiscaseisçlexceptional''warranting an award offeesand costsunder

  the Lanham Act. This is exactly the type ofunjustified litigation that section 35(a)of the
  Lanham Actsoughtto prevent. Schmidtv.Versacomp,Inc.,No. 08-60084-C1V-M OORE,2012

  W L 12947144,at*3 (S.D.Fla.July 31,2012);BrooksFurnitureMfg.,Inc.v.DutalierIntern.,
  lnc.,393F.3d 1378,1382(Fed.Cir.2005).
         THISCAUSE camebeforetheCourtuponDefendants'M otionforAttom ey'sFees(D.E.
  52),filedonAuzust1.2017.
         THE COURT has considered the m otion,the response,the pertinent portions of the

  record,and being otherw ise fully advised in theprem ises,itis

         ADJUDGED thatthe m otion is GM NTED. The CourtawardsDefendants$62,434.75
  in attom ey'sfeesand $2,344.33 in costs. Forwhich sum s1etexecution issue.

                                          1.Backeround

         ThisCourtdismissed Plaintiffs'trademark action with prejudiceon Jtme 16,2017. The
  Courtfound the Defendants'use ofthetenn ttBeautifulPeople''on theirregistered website and

  prom otional materials predated Plaintiffs' trademarks by several years. The Court found

  Plaintiffscould notm eettheirburden to show priority ofuse since theirown allegationsshowed

 the Defendants' use of the term tdBeautiful People'' predated the Plaintiffs' trademark

 registration.

         ThisCourt's Order also ddailed tht parties'priorhistory. The Defendantshad opposed
 Plaintiffs'trademark registrations,butwhen faced with lengthy discovery decided notto pursue

 that course of action. Plaintiffs also soughttransfer ofD efendants'dom ain nam e to them selves

 by filing a com plaint under the U niform D om ain N am e Dispute Resolution Policy. A three-

 m em ber panel found that D efendants' registration of its dom ain nam es and their services



                                                2
Case 1:16-cv-24026-FAM Document 69 Entered on FLSD Docket 11/14/2017 Page 3 of 7



  predated Plaintiffs'registration by severalyears. ThepanelrejectedPlaintiffs'claimsand found

  PlaintiffshadengagedinGsreversedomainhijacking''   .



         After this Courtdism issed this case, Plaintiffs filed a Rule 59(e) motion to alterthe

  judgment,anoticeofappealin theFederalCircuit,and a motion torecuse This Courtdenied
                                                                               .



  theRule59(e)motion andthemotiontorecuse.
                                            Il.A nalvsis

     A.Entitlem entto Fees

         Section 35(a) ofthe Lanham Actprovidesthatt'ltlhe courtin exceptionalcases may
  award reasonable attom ey feesto the prevailing party.''15 U.S.
                                                                C.j 1117(a). Sll-listorically,the
 Eleventh Circuit has defined the Act's language of Gexceptional case' as tone that can be

 characterized asm alicious,fraudulent, deliberate,and willful,orone in which evidenceoffraud

 orbad faith exists.'''DonutJoe'
                               s, Inc.v.Interveston Food Servs., LLC,116 F.Supp.3d 1290
                                                                                                  ,

 1292(N.D.Ala.2015)(quoting TireKingdom,Inc.v.M organ Tire& Auto, lnc.,253 F.3d 1332,
 1335 (11th Cir.2001)). The TireKingdom standard isin question because the Supreme Court
 has since interpreted the identicaltsexceptionalcase''language in the PatentA ct. f#. In Ocfcne

 Fitness, LL C v. ICON H ealth & Fitness, Inc., 134 S.Ct.1749 (2014),the Supreme Court

 adopted a far less stringent standard defining ççexceptional'' consistent with its ordinar
                                                                                                 y
 dictionary meaning: uncom mon, rare, not ordinary, out of the ordinary course unusual,or
                                                                              ,

 special.Id at1756.

        The Supreme Courtstated thatan tsexceptionalcase''isçione thatstands outfrom others

 with respectto the substantive strength of a party's litigating position . . . orthe unreasonable

m anner in which the case w as litigated.''Id. D istrictcourts m ust exercise discretion on a case-

by-casebasisconsidering thetotality ofthecircum stancesto detennineifacaseis<çexceptional.''



                                                3
Case 1:16-cv-24026-FAM Document 69 Entered on FLSD Docket 11/14/2017 Page 4 of 7



  1d After Octane Fitness,the Third,Fourth, Fifth,and Ninth Circuits have applied the Octane

  Fitnessstandard to an award ofattorney'sfeesunderthe Lanham Act. SeeSunEarth Inc.v.Sun

  Earth SolarPower Co.,L?(f, 839F.
                                 3d 1179,1180(9th Cir.2016);Bakerv.Deshong,821F.3d
  620,624 (5th Cir.20l6);Georgia-pac.ConsumerProductsLP v von Drehle Corp.,781 F.3d
                                                                .




  710,721(4thCir.2015);FairWindSailing,Inc.v.Dempster,764F.3d 303,314 (3d Cir 2014);.



 see also Slep-Tone Entm '
                         tCorp.v. Karaoke Kandy Store,faa,782 F.3d 313, 317-18 (6th Cir.

 2015)(remanding to districtcourtand indicating thatidenticalstatutes such asPatentShifting
 ProvisionandtheLanham Act,shouldbeintemretedalike).
        The Eleventh Circuithasnotaddressed the issue, butcourtsin thisdistricthave applied

 OctaneFitnessto Lnnham Actcases. Tobinick v.Novella,207 F.Supp.3d 1332, 1342 (S.
                                                                                D.Fla.
 2016) (holding thata showing of subjective bad faith isno longerrequired in Lanham Act
 tiexceptionalcase''jurispmdencel;BucellatiHolding Italia SPA v.faura BuccellatiLLC,No     .



 13-21297-CIV-M OOM /M cA1i1ey,2015 W L 11202358, at*3(S.
                                                        D.Fla.M ar.10,2015);Florida
 1nt1 Univ. Bd of Trustees          Florida Nat1 Univ. lnc., Case No. 13-21604-CIV-
 W ILLIAM S/SIM ONTON (ReportandRecommendation)(S.D.Fla.Aug.11,2017).
       Although this Court agrees that Octane Fitness is the applicable standard, this case

 qualifesforan award forattorney'sfeesundereitherapproach. Plaintiffsadvanced claim sthey

 should have known were m eritless.Prior to ûling this case, an arbitration panel found that

 Defendants' use of the beautifulpeople.net and beautifulpeople.com domain nnm es to offer

 dating servicespredated the Plaintiffs'registrations. Decl.ofDavid Caplan,Exh.K (D.
                                                                                   E.14-1
 at91,94) Thepanelrejected Plaintiffs'claimsand found Plaintiffstlarough theirpredecessor
 company,haddûengaged inreversedomain hijacking.''1d.at98. Thepanelstatedthatççafnding
 ofgreversedomainhijackingliswarranted iftheComplainantknew orshouldhaveknownatthe
Case 1:16-cv-24026-FAM Document 69 Entered on FLSD Docket 11/14/2017 Page 5 of 7



  tim e ittsled the Complaintthatitcould notprove one ofthe essentialelements required by the

  Policy ...(Squchafinding isparticularlyappropriatewheretheRespondent'sregistration ofthe
  domain nam epredatesthevery creation ofthe Complainant'stradem ark.''Id.at98. ThisCourt

  noted in its Order Granting the M otion to Dism iss that even the Plaintiffs'Second Amended

  Complaintcontained factualallegations establishing Defendants'registered website and use of

  the term ltBeautifulPeople''in theirpromotionalm aterials predated Plaintiffs'tradem arks by

  severalyears. Ifthiswere notenough to callthis an dfexceptionalcase''tmderthe Lanhnm Act
                                                                                                ,

 Plaintiffs'responseto the motion forfeesputthe icing on the cake. Even knowing they had no

 viable claim sgiven the well-established priority ofuse doctrine, the Plaintiffspursued thiscase

 when Defendants refused to settle by providing a licensing agreem ent. ln responding to the

 M otion forAttorney's Fees,Plaintiffs readily adm itthatEsDefendantscould haveprevented this

 lawsuit by settling this matter out of courtvia licensing but Defendants refused to do so.''

 Certainly,these facts are suffcientforthis Courtto exercise itsdiscretion underOctaneFitness

 orTireKingdom and find thiscase meetsthe standard foran ésexceptionalcase''warranting fees

 undertheLanham Act.

        Plaintiffs argue that because Defendants have paid their attorney's fees, the m otion

 should be denied. The Defendants'ability to pay is notrelevantunder section 35(a)ofthe
 Lanham Act. The provision affordsEsprotection to defendants Gagainstunfotmded suitsbrought

 by tradem ark ownersforharassm entand the like. '''VitalPharm.,Inc.v.American Body Bldg.,

 Prods.,LLC,510 F.Supp.2d 1043, 1045 (S.D.Fla.2007)(quotingNoxellCorp.v.Firehouse

 No.lBar-B-oueRestaurant,771F.2d 521,524 (D.C.Cir.1985)). ThatDefendantshavepaid
 theirbillsisnotpertinenttotheentitlem entissue.
Case 1:16-cv-24026-FAM Document 69 Entered on FLSD Docket 11/14/2017 Page 6 of 7



         #.AmountofFees
         The Courtusesthe lodestarmethod to determ ine thereasonablenessofafee application
                                                                                                 .


  The lodestar is calculated by multiplying the number of hour
                                                              s reasonably expended by a
 reasonable hourly rate. forangerv. Stierheim ,10 F .3d776,781(11th Cir.1994)(citingHensley

 v.Eckerhart,461U .S. 424,433 (1983)). Defendantscontend the appropriate lodestarfigtlrein

 thiscaseis$62,434.75.

        $tA reasonable hourly rate isthe prevailing m arketrate in the relevantlegal
                                                                                       com m unity
 for sim ilar services by lawyers ofreasonably com parable skills
                                                                  ,   experience,and reputation.''
 Norman v.Housing Auth.     of C7:y of Montgomery 836 F.2d 1292, 1299 (11th Cir 1988).   .


 Plaintiffschallenge the reasonablenessofthe hourly rates.
                                                             Specitscally,Plaintiffsobjectto the
 hourly rateforattorneysDavid Caplan and Ryan Zagare.
                                                         Plaintiffsdonotobjecttotheratesfor
 Harry Schafer,SaraStadler, TheodoreDavis,orRachelFriedm an.

        ln hisdeclaration,David Caplan, apartneratKilpatrick Townsend & Stockton LLP
                                                                                    , sai
                                                                                        d
 thathisfil'm isknown foritsexpertisein intellectualproperty law . M r.Caplan hasover21years

 experience and his hourly billing rate in this case ranged from $645 to $675. M r.Harry
 Schafer'sdeclaration provided M r. Zagare'shourly rate of $425. M r. Zagare,a shareholderat

Kelm y Nachwalter,had eleven years'experience in com mercialand federallitigation. After

examining theevidenceoftheM iam ilegalm arketprovided by Defendants the Courtdeterm ines
                                                                           ,

both M r.Caplan'sand M r. Zagare'shourlyratesarereasonable.

       Plaintiffsobjectto 106.2 hotlrs billed on this case through M ay 31, 2017. W ithout
explanation,Plaintiffsprovidedalistoftimeentriesand assortedcostitemsandobjectedtothem
as çlduplicative or excessive.'
                              ' Plaintiffs'objections do notcomportwith LocalRule 7.3(a),
which provides:
Case 1:16-cv-24026-FAM Document 69 Entered on FLSD Docket 11/14/2017 Page 7 of 7



                W ithin fourteen (14) days after tiling and services ofthe motion,the
                respondentshalldescribe with reasonable particularity each tim e entry or
                nontaxable expense to which itobjects,both asto issues ofentitlement
                and asto am ount,and shallprovide supporting legalauthority. Ifa party
                objectsto an hourly rate,itscotmselmustsubmitan affidavitgiving its
                firm 's hourly rates for the m atter and include any contingency,partial
                contingency,orotherarrangementsthatcould changethe effective hourly
                rate.

  S.D. Fla. L.R. 7.3(a). Plaintiffs' response falls far short of meeting the Local Rule's
  requirem ents. M erely stating thatan entry isduplicative orexcessive doesnotsuffice underthe

  çireasonable particularity''requirem entofthe LocalRule. The D efendants'tim e recoxds detail

  thetime spenton tasksand show thework wasefficiently distributed to attorneyscharging lower

  rates. TheCourtthereforeagreeswith Defendants'lodestarcalculation.

          C.Costs

          A prevailing party may recoverreasonable costsunderthe Lnnhnm Act.15 U.S.C.j
  1117(a);Pelcv.Nowak,596F.App'x768,770(11thCir.2015)(statingaprevailingpartyunder
  theLanham Actmay recoverthecostsoftheaction).Defendantsareseekingreimbursementfor
  document reproduction ($173.70), computer research ($859.32), and travel ($1,311.31).
  Plaintiffs have not contested the reasonableness of these costs,and the Court finds they are

  indeed reasonable.                                                                          z;
          DONE AND ORDERED in Chambers at M iami,Florida,this                                  ofNovem ber
  2017.


                                                                    .
                                                                -fJ,;.&.   .
                                                                               .;'.
                                                                                ...   .
                                                                                          .
                                                            )1)--' .. -'
                                            FEDERICO . OlkE U
                                            U N ITED STA TES DISTR ICT JU DG E
  CopiesFurnished to:

  CounselofRecord
